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     ____________________________________________________________
                                       REBUTTAL REPORT
      Carrigan et al., vs. Park County, Colorado, et al. United States District Court, District of
                            Colorado, Case No. 1:16-cv-03079-MSC-MJW
                                         December 14, 2017


     I was asked by the Law Firm of Elkus and Sisson to review the December 4, 2017 report
     prepared by the defendants’ expert witness in this case, Jonathyn Priest, and to prepare a
     rebuttal report if necessary. I have had the opportunity to review Mr. Priest’s report, and
     do find it necessary to rebut several aspects of Mr. Priest’s report. My report is structured
     as follows:

     A. My opinions, the bases for my opinions, and my synopsis as reflected in my original
     report of September 24, 2017. I would like to point out that I stand by the opinions I
     expressed in my original report, and these opinions should also be considered rebuttal to
     Mr. Priest’s opinions where applicable.

     B. Mr. Priest’s rebuttable statements and opinions reflected in his report of December 4,
     2017, and my response(s) to each.

     A. Montgomery Opinions, Bases for Opinions and Synopsis from the Original
     Report Prepared on September 24, 2017.

     WERE THE ACTIONS OF THE DEFENDANTS IN THIS CASE IN CONCERT
     WITH WELL-ESTABLISHED AND MODERN POLICE PRACTICES AND
     STANDARDS? WOULD REASONABLY TRAINED AND PRUDENT POLICE
     OFFICERS HAVE TAKEN THE SAME ACTIONS GIVEN THE SAME
     CIRCUMSTANCES? THE ANSWER TO BOTH OF THESE QUESTIONS IS NO.

     1. Earlier in this report I discussed good policing and bad policing. I emphasized the fact
     that when bad policing occurs, it is because the of the fact that the police officer(s) involved



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     did not have adequate training; did not receive and/or exercise good supervision; and/or
     did not use good judgment. In this case, all three of these factors came into play, and
     because they came into play, Deputy Nate Carrigan was murdered, Deputy Kolby Martin
     was shot several times; Deputy Travis Threlkel was struck by gunfire but not wounded,
     Captain Hancock was wounded, and Martin Wirth was killed by defensive gunfire. If the
     defendants in this case, Sheriff Fred Wegener and Captain Mark Hancock, had the proper
     training, had and/or exercised good supervision, and used good judgment, this tragedy
     could have been avoided. The entry into Mr. Wirth’s residence was poorly planned,
     premature, and tactically incorrect. This poor planning, premature and untimely entry into
     Mr. Wirth’s residence, and the numerous tactical deficiencies in this case, led to the death
     of Deputy Nate Carrigan and the serious injuries to Deputy Kolby Martin.

     2. It was reasonably foreseeable in my opinion, given the totality of circumstances in this
     case, including the knowledge of Mr. Wirth’s threats to kill police officers; the assumption
     that all residents in the county had firearms in their houses; the knowledge that no threat
     assessment had been conducted; the knowledge that no interior diagram of the Wirth
     residence had been completed prior to the entry; the knowledge that the entry team was not
     wearing adequate protective equipment; and the knowledge that medical had been staged
     in the area at the recommendation of the Park County sheriff’s Department, that these
     deficiencies would lead to injuries and/or the death of sheriff’s deputies.

     3. The International Association of Chiefs of Police (IACP) Model Policy concerning
     “Barricaded subjects” was implemented in September of 2007. The situation we are
     dealing with here involving Martin Wirth fits the definition of what IACP defines as
     “Barricaded Subjects.” The definition provides, “A person who is not suspected of
     committing a crime but is the focus of a legitimate police intervention effort---most often
     involving threats of suicide or mental illness---who has taken a position in a physical
     location most often a structure or a vehicle, that does not allow immediate police access--
     -whether fortified or not---and who is refusing police orders to exit. A barricaded subject
     may be known to be armed, thought to be armed, have access to weapons in the location,
     or be in an unknown weapons status.” Clearly, Mr. Wirth fits this description. There were
     no criminal charges pending against him and there were no warrants for his arrest. He was
     a barricaded subject who was thought to be armed, did not want to be evicted from his
     home, and the Park County Deputies present were there to invoke a civil process that had
     been authorized by the courts.

     4. In their model policy concerning barricaded subjects, the IACP also identifies two
     different resolution strategies, primary resolution and secondary resolution.

         Primary resolution strategies include police actions, “Geared toward resolving a
          barricaded suspect or subject situation and involving the use of minimally intrusive
          techniques such as negotiations, time, electronic surveillance, and high energy
          illumination.”

         Secondary resolution strategies include police action, “Geared toward resolving a
          barricaded suspect or subject situation and involving the use of intrusive tactics




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            such as window clearing, mechanized ram, chemical agents, and related munitions,
            breach and hold, robot entry and search, off-leash K-9search, and long-leash K-9
            or entry team search.”


     5. The defendants in this case did not at all adhere to the above principles established by
     the International Association of Chiefs of Police concerning barricaded situations.

     6. The defendants in this case simply did not at all adhere to this well-established principle
     of time, talk, and tactics. The defendants abandoned any idea of time and talk, and instead,
     resorted to tactics from the very beginning. Clearly in this situation involving Mr. Wirth,
     he fit the definition of a barricaded subject after he retreated back into his house and would
     not speak with the deputies present. Instead of establishing a perimeter however, and then
     working on making contact with Mr. Wirth for purposes of verbal de-escalation and
     resolution, the defendants resorted immediately to a dynamic entry. Captain Hancock, with
     the permission of Sheriff Wegener, and the entry team escalated to a secondary resolution
     using a dynamic and tactical entry and the threatened use of lethal force three minutes and
     five seconds after seeing Mr. Wirth re-enter his residence. In my opinion, this was
     outrageous, especially considering the fact that Captain Hancock stated on his police radio,
     “I’m going through the doors,” at one minute and 37 seconds after Mr. Wirth re-entered
     his residence, and then did in fact make forced entry one minute and 28 seconds later.

     7. Captain Hancock and Sheriff Wegener should have resorted to a primary resolution
     strategy involving negotiations and time. Clearly, this was not an active shooter scenario,
     no shots had been fired, and a dynamic tactical entry given the circumstances in this
     situation, which was a civil eviction, was clearly uncalled for. Sheriff Wegener and
     Captain Hancock had time on their side. When Mr. Wirth refused to come to the door of
     his residence as requested by the deputies, all they would have had to do is establish a
     command post, establish an inner perimeter and an outer perimeter for control purposes,
     and then attempt to make contact with Mr. Wirth either through the use of a landline, a cell
     phone, the police vehicle public address system, or a drop phone, and then de-escalate and
     negotiate. For many, many years, certainly back to the seventies, these kinds of situations
     have demanded the appropriate use of time, talk, and tactics. Time and talk are the
     equivalent of the primary resolution strategy identified by the IACP, where time is on the
     side of law enforcement authorities to manage and resort to negotiations, and tactics come
     into play in the secondary resolution strategy where forceful alternatives are typically used.

     8. In reviewing the CBI investigation interview statements made by the involved deputies
     in this situation, as well as the deposition transcripts of Sheriff Fred Wegener, former
     Undersheriff Monte Gore, and former Captain Mark Hancock, it is clear that there was a
     fear that Mr. Wirth was dangerous by virtue of the threats he made shortly before this
     incident to get a gun and shoot the first police officer he saw, and by the threats he made
     to a neighbor (Mr. Garish) to shoot police officers and to create a “Shootout at the OK
     Corral.” The deputies were aware of these threats as was Captain Hancock, and that was
     precisely why seven deputies were sent to implement the eviction of Mr. Wirth from his
     residence, along with Undersheriff Gore manning the rear command post position at the




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     Park County communications facility. Moreover, the Platte Canyon Fire Department was
     staged for medical purposes. Never, had this magnitude of resources been used on any
     prior eviction process. Essentially, even knowing that the eviction process involving Mr.
     Wirth was a “high risk eviction,” (See Captain Hancock’s telephone conversation with
     “Karen” in communications @ 2-24-16, 9:26:58 am where he refers to it as a “high risk
     eviction), the deputies under Captain Hancock’s direct command, and under the indirect
     command of Sheriff Wegener, were sent into a lethal ambush in which Deputy Nate
     Carrigan was killed, Deputy Kolby Martin was shot several times and seriously wounded,
     and Captain Mark Hancock was wounded in the ear. All of this occurred in a mere 22
     seconds approximately from the time the deputies entered the residence to the time that the
     “shots fired, officer down” requests for help were made @ 2-24-16, 9:49:04 am. This
     situation was mishandled, and in my opinion it was mishandled in part because of the
     perceived need on the part of Captain Hancock to rush in without first doing an effective
     situation assessment. This is a common problem among many police officers today, and
     in my opinion, Captain Hancock fell prey to and displayed, an inability to accomplish this
     fundamental pre-requisite task of situation assessment. He was simply rushing in, in too
     much of a hurry, and acting over-aggressively, traits certainly that are not in concert with
     well-established and modern police practices and standards.

     9. During his interview with CBI, Captain Hancock stated, “….and I really regret that I’m
     a Marine sometimes because I am super aggressive and I don’t like to give people the
     opportunity to plan, fortify, and take us out so I asked a second time I believe, and I don’t
     know if I even got permission or not. I can’t remember. But I told Nate to take the door.”
     (@ CARRIGAN 17984-17985). This statement to CBI illustrates Captain Hancock’s
     tendency to compress time and rush prematurely into situations, as he did in the Wirth
     incident. In contemporary policing, effecting planning, situation assessment, and tactical
     thinking are a must, and Captain Hancock simply did not live up to these well established
     and modern police practices and standards.

     10. In 1997, Charles Remsberg, author of “The Tactical Edge,” and one of the world’s most
     respected law enforcement tactical trainers, stresses the importance of tactical thinking for
     law enforcement officers, and breathes life into the popular lexicon developed in 1709 by
     Alexander Pope, “Fools rush in where angels fear to tread.” In his chapter concerning
     tactical thinking, Remsberg states:

     11. “By thinking self-protectively, you still can resolve volatile situations favorably, not
     only with less risk to yourself, but to citizens you may be trying to defend. Good self-
     protective thinking means good tactical thinking: not just rushing in, flaunting your
     machismo and hoping for the best, but analyzing the situation you’re up against
     …anticipating what problems you might encounter…and deciding what you say and do as
     part of a plan for controlling the action. Failing to understand that all this can be done is
     what leads some officers to react emotionally with ill-advised heroics. Failing to
     understand how it should be done leads to other tactical failures. They may talk a good
     show about survival, but they’re not able to actually apply survival principles in a
     meaningful way on the street. Some for example, rigidly compartmentalize their thinking.
     They memorize and try to apply one set of prescribed procedures for responding to all




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     silent alarms….another for conducting all building searches…and another for making all
     traffic stops. Tactical thinking that works involves a simple formula: you match options
     for defense and control to the type of threat you’re facing. Obviously, that’s easier said
     than done. But it is easier done than a lot of officers imagine. The key is the way you
     think. Good tactical thinking begins with assessing your potential danger.” (“The Tactical
     Edge, Surviving High-Risk Patrol,” Charles Remsberg, author of “Street Survival: Tactics
     for Armed Encounters, Calibre Press, 1997). Again, Captain Hancock’s rush to judgment
     cost Deputy Carrigan his life and nearly cost Deputy Martin his life.

     12. Another example that effectively describes the tactical deficiencies in this case can be
     found in the 2011 discussion by Dr. Ron Martinelli concerning “pre-contact threat
     assessment.” Dr. Martinelli, a former San Jose, California Police Officer and today a
     nationally known expert in policing strategies Dr. Ron Martinelli identified what he termed
     Pre-Contact Threat Assessment, Pre-contact threat assessment is an absolutely critical
     component of well-established and modern police practices and standards. Poor pre-
     contact threat assessment is quite common among law enforcement officers, especially
     when functioning under stress. There are five fundamental components of pre-contact
     threat assessment (Lethal and Nonlethal Uses of Force: The Five Considerations of
     Graham, Dr. Ron Martinelli and Associates, 2011).

     13. “Rule #1: Avoid emotional capture. You cannot seek to control others unless you are
     first in control of yourself emotionally. Untrained officers and/or those lacking in
     confidence in officer safety and use of force skills tend to easily become emotionally
     captured by a subject’s resistance and allow their own survival chemicals to take over and
     impair their critical decision-making and performance under pressure.”

     14. Rule #2: Manipulate the environment, don’t be manipulated by it. Officers are often
     challenged in the field by unique and rapidly evolving circumstances that they lack the
     proper equipment for. However, this does not mean that you lack situational awareness or
     that you cannot immediately adapt and modify your tactics to ultimately overcome a
     resistive or potentially violent subject. Improvise, adapt and overcome. If you allow your
     environment to control you when you have a clear opportunity to control it, you will fail.”

     15. “Rule #3: Remember the five components of arrest (verbalization, approaching the
     subject, going hands on with the subject, arrest and control tactics, handcuffing and
     searching). In assessing the subject and your situation, you must determine whether you
     and/or your partners can successfully accomplish all five of the arrest components. This is
     the most important component of any pre-contact threat assessment. If you believe that
     you cannot accomplish all five components, do not make contact at that time. Rather,
     whenever the situation allows, follow Rules 1 and 2, keep calm, stay focused, maintain
     situational awareness, manipulate the environment, and wait for additional resources and
     equipment to allow you to re-engage to make the arrest.”

     16. “Rule #4: If at all possible avoid time compression. Officers have a bad habit of
     wanting to take immediate action when it is neither safe nor prudent to do so. Again, this
     speaks to emotional capture and a lack of situational awareness. Remember that there is a




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     distinction between potential and imminent jeopardy. While all contacts with resistant
     subjects are potentially dangerous, far fewer contacts actually place officers or others in
     imminent danger. Follow Rule #1 and do not become so emotionally captured by a
     resistant subject that you become unreasonably phobic and adrenalized to the point where
     you rush into a situation that you do not have to. Examples of unnecessary time
     compression include:

         •   Moving too close to the subject
         •   Posturing by screaming/yelling complex/confusing orders and commands
         •   Rapidly engaging an already agitated, angry, delusional or psychotic person who
             does not present any imminent threat, from a distance.”

     17. “Rule #5: Distance and cover are your friends. Whenever possible, utilize and maintain
     distance and cover from any resistant and potentially violent subject you intend to arrest.
     Distance allows you to observe more and prevents visual distortions such as perceptual
     narrowing or tunnel vision. Maintaining distance enhances hearing, situational awareness
     and lengthens reactionary gap. These benefits allow the involved officer(s) to maintain
     center and balance, and lessen the potential for emotional capture. Maintaining distance
     from resistant subjects ultimately allows officer(s) an enhanced opportunity to observe and
     assess what is happening more accurately, and respond to potential and imminent threats
     in a safer and more effective manner.”

     18. I have identified Sheriff Fred Wegener as the incident commander in this situation
     because he did in fact come to the scene of this event just prior to it commencing, and did
     in fact suggest tactical alternatives for Captain Hancock to utilize, which were rejected by
     Captain Hancock. For example, when Sheriff Wegener asked Captain Hancock if he was
     going up to the door, Captain Hancock advised, “I’m going through the door.” Sheriff
     Wegener failed to ask any further questions of Captain Hancock to my knowledge or call
     a time out to discuss further. Then, when Captain Hancock stated to Sheriff Wegener that
     they were giving Mr. Wirth too much time and he needed to “go,” Sheriff Wegener
     responded, “OK, see if you can get his attention at the door.” Captain Hancock replied,
     “We tried that, he’s not coming.” At this point, Sheriff Wegener should again have called
     a time out, had the deputies stand down, establish an inner perimeter, and enact a primary
     resolution strategy. Instead, approximately 37 seconds later, Captain Hancock stated,
     “We’re gonna go through the door.” Sheriff Wegener replied, “Copy-breaching the door.”
     Sheriff Wegener clearly had the authority and the power to stop this nonsense, but he failed
     to do so. In his interview with CBI, he indicated, “I was just letting them do their thing.”
     (@ CARRIGAN 18061-18063). As a result of “letting them do their thing,” Deputy Nate
     Carrigan was murdered and Deputy Martin suffered severe physical injuries after being
     shot several times.

     19. Sheriff Wegener also admitted in deposition that he saw the officers on the entry team
     make entry without wearing protective helmets. He also stated that there is only one deputy
     on his department that is formally trained in crisis intervention training (CIT), and that
     individual, identified as Deputy Jones, came to Park County from the Denver Police
     Department. Sheriff Wegener further indicated in his deposition that no back-up assistance




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     from the Jefferson County SWAT Team was requested, nor was their tactical robot
     requested so that it could have been used to make initial entry into the residence.

     20. In his interview by CBI, Sheriff Wegener indicated, “Now the fact that we had some
     folks who were SWAT trained that were going on this, yes that is correct. But this was,
     because I didn’t want this to seem like that. I didn’t want to make it seem like we were this
     overpowering force was going up there on an eviction. No. We were going up there but
     we knew what he was capable of.” (@ CARRIGAN 18058-18059). From this statement
     to CBI, it would certainly appear that the decision to downgrade this situation from a
     SWAT action to a non-SWAT action was attributable to Sheriff Wegener, and was perhaps
     politically-motivated by a desire to look non-militaristic. If this is true, and it was in fact
     as he stated his decision to downgrade the response, that downgrade cost Deputy Carrigan
     his life. And, if the statement made by Sheriff Wegener is not true, then why didn’t he
     confer with Captain Hancock before, during, or after the pre-action briefing and learn more
     about the nature of Mr. Wirth and the threat he posed. It was common knowledge
     throughout the department that Mr. Wirth had threatened to kill police officers. Why didn’t
     Sheriff Wegener know that? Why didn’t Sheriff Wegener do more to ensure that this
     situation would be handled in a manner consistent with well-established and modern police
     practices and standards? He was there on scene.

     21. I am concerned about the decision Sheriff Wegener made to not allow this high risk
     eviction to become a full blown SWAT activation. It was indeed a high risk situation
     involving an individual who was considered dangerous and who had threatened to kill
     police officers on at least two different occasions, and a SWAT activation should have been
     implemented by the Park County Sheriff’s Department with perhaps the assistance of the
     combined Jefferson County Sheriff’s Department SWAT Team. SWAT personnel are
     typically trained to start with, where appropriate, a primary resolution strategy using time
     and talk to negotiate peaceful surrenders, and then, where appropriate and necessary to
     enact a secondary resolution strategy utilizing forceful tactics, including such devices as
     gas projectiles, flash-bang projectiles, robots, etc. etc. Sheriff Wegener’s decision to not
     allow this situation to become a SWAT operation, and not to use the services of the
     Jefferson County SWAT Team or a negotiator from the outside, proved fatal.

     22. Administratively, there were three key factors that came into play in this incident
     involving the deaths of Deputy Carrigan and Mr. Wirth tht are extremely concerning. First
     of all, whenever there is an officer-involved shooting incident, especially so in a case like
     this involving the death of a citizen and of a police officer, there is a criminal investigation
     typically performed by the local district attorney’s office, another law enforcement agency,
     or the Colorado Bureau of Investigation. These investigations are done to determine if
     there were any criminal improprieties on anyone’s part. In this case, the investigation was
     completed by the Colorado Bureau of Investigation. There is also an administrative
     investigation that is completed to determine if there were any policy, procedure, or rules
     violations. Typically, that kind of an investigation would be completed by the involved
     law enforcement agency or an outside law enforcement agency in order to ensure a fair and
     objective investigation. Surprising in this case is the fact that no internal investigation was
     completed. Sheriff Wegener indicated in his deposition that he personally determined that




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     there were no policy violations in the Carrigan/Wirth incident. In my opinion, this was a
     major failure on the part of Sheriff Wegener and the Park County Sheriff’s Department,
     and certainly a failure in terms of ensuring that the organizational approach to officer-
     involved shootings such as what we saw in this case, was in concert with well-established
     and modern police practices and standards. Sheriff Wegener was essentially clearing
     himself of any administrative improprieties. That is not the way the system is supposed to
     work and it raises concerning questions as to why Sheriff Wegener did not launch an
     internal investigation.

     23. Undersheriff Monte Gore, who was the incident commander at the rear command post
     in the communications center during the Carrigan/Wirth incident, and who lost his job
     within days after the death of Deputy Carrigan and Mr. Wirth, indicated during his
     deposition the following:

     24. “Approximately two weeks, two and a half weeks prior to this operation being
     conducted, I had called Captain Hancock into my office and advised him that I felt Wirth
     was a significant threat. Told him that during the operation, I wanted to be very clear that
     I considered Wirth to be extremely dangerous. I felt he was homicidal and suicidal. I felt
     he wanted to commit suicide by cop and take as many others with him as he could. I
     directed Captain Hancock (sic) that under no circumstances whatsoever were they to enter
     Wirth’s residence.” Furthermore, according to former Undersheriff Gore, Captain
     Hancock was ordered that if Mr. Wirth came out and then went back into his residence,
     Captain Hancock was to call Gore. Once that occurred, then options existed that needed
     to be pursued, e.g. cancel the eviction operation and leave the scene, or set up perimeter
     control and consider other tactical options. Again, the evidence suggests that Captain
     Hancock disobeyed a direct order, and furthermore, accepting as true some statements
     recently made by Deputy Kolby Martin, Captain Hancock was asked on two different
     occasions by two different deputies on the morning of the eviction whether or not deputies
     would be entering Mr. Wirth’s residence, and on both occasions, Captain Hancock replied
     that they would not. This in my opinion, suggests an affirmation on the part of Captain
     Hancock that he was acknowledging the earlier direct order of former Undersheriff Monte
     Gore not to enter the residence, and then changed his mind when Sheriff Wegener arrived
     on scene and he started conversing over the radio with Sheriff Wegener but not
     Undersheriff Gore. It is noteworthy too that Captain Hancock did not initiate any
     communications over the tactical radio frequency being monitored by former Undersheriff
     Gore, a fact confirmed by both Captain Hancock and Gore. Also of importance is the fact
     that the order by Undersheriff Gore not to enter the Wirth residence was never rescinded
     by anyone.

     25. Mr. Gore went on to say that Sheriff Wegener willfully disregarded a known risk, and
     was of the opinion too that the sheriff’s actions rose to the level of gross negligence. He
     stated further, “…and his actions were unreasonable and I have no idea why anyone in any
     universe would have ordered those young men to go into that residence.
     They weren’t prepared. They weren’t equipped. It goes against barricaded----everybody’s
     policy in a barricaded suspect. It should not have happened in any universe.” During his
     deposition, former Undersheriff Gore stated, “This was an extremely dangerous situation.




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     Ad under no circumstances, even if I had all of the aforementioned equipment (shields),
     best trained officers, best trained team, you would not have made entry into this residence.”

     26. Accepting as true the statements of former Undersheriff Gore that Captain Hancock
     was given direct orders not to enter the Wirth residence, it is inconceivable to me why
     Captain Hancock would deliberately disobey such an order and make a forced entry into
     the Wirth residence under these circumstances. In the world of policing where life and
     death decisions are made routinely, and where police officers deal with mental health issues
     on almost a daily basis, it is critical that in tactical situations, especially where lives may
     be in danger, that orders from a superior officer be followed. This was a case of
     insubordination on the part of Captain Hancock but most importantly, this insubordination
     was the cause of the tragedy that resulted. If Captain Hancock had simply followed the
     orders he was given, this tragedy would have been averted.

     27. Earlier in this report, I made reference to the fact that good training is an absolute
     essential ingredient to good policing. One of the concerning aspects of this case is the fact
     that there was only one deputy within the Park County Sheriff’s Department that was
     trained and certified in crisis intervention tactics, commonly referred to as CIT, and that
     was Deputy Jones who received his training with the Denver Police Department prior to
     joining the PCSD. Sheriff Wegener indicated in his deposition that he had not had any of
     his deputies trained and certified in CIT, and that no mechanism was in place to have any
     of his deputies (Deputy Jones in this case), on standby should a critical incident occur
     where crisis intervention assistance was needed. In today’s world of policing, CIT training
     is, as referenced above, an essential ingredient to good policing, and it is critical that police
     officers and sheriff’s deputies be CIT trained and certified so that they can more effectively
     deal with critical incidents. Recognizing that there may well be situations where all field
     personnel assigned to a patrol function are not CIT trained and certified, the important thing
     is to have one or more CIT officers on duty so that they can be called upon to respond to a
     scene and takeover a call for purposes of effective verbal intervention, de-escalation, and
     resolution. Through a 40 hour course, that is what they are trained to do. As a chief of
     police or a sheriff, it is not enough to hope that one or more of your field personnel is CIT
     trained and certified, and that on any given day or night you might benefit from the luck of
     the draw by having one of them on duty. As a chief of police or sheriff, you have to first,
     insist on getting your field personnel CIT trained and certified, and second, make sure in
     your deployment scheme that you have CIT personnel on duty and available to take, and
     or assist in crisis calls where intervention is necessary. Surprisingly, this was not the case
     in the Park County Sheriff’s Department, and this failure to have in place, or even to call
     for mutual aid CIT assistance in my opinion, was another reason this tragedy occurred.

     28. For purposes of background and clarification, CIT is nothing new. It has been around
     for years after being implemented in the Memphis, Tennessee Police Department in 1988.
     CIT became quite valuable in law enforcement circles and in the early 2000’s, the United
     States Department of Justice, through its Office of Community-Oriented Policing started
     funding grants for local law enforcement agencies throughout the United States. The grants
     were coordinated as I recall by the State of Colorado Department of Public Safety, Division
     of Criminal Justice.




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     29. Scott Glaser, the Executive Director of the National Alliance on Mental Illness
     Colorado, recently authored a guest commentary for the Denver Post discussing the subject
     of mental illness and Crisis Intervention Training programs. The commentary was titled,
     “Guest Commentary: When Mental Illness and Police Collide.” (Denver Post Editorial
     Section, August 21, 2015, Scott Glaser, NAMI Colorado).

     Mr. Glaser offered the following thoughts, which I totally agree with, that offer some
     insight into the need for quality police training in CIT. He said:

     “Mental illness affects one in five people in Colorado and affects people of all races,
     genders, and ages. Police will find themselves in frequent contact with people who may
     be in the throes of a psychosis, deep depression or other affliction that may affect their
     ability to interact with others, including uniformed officers. When this occurs, death need
     not be the outcome.

     Crisis Intervention Team training is vital to helping equip officers with the tools they need
     to ensure the safety of people who may be struggling with the effects of their illness. The
     goal of CIT is to train law enforcement officers in the recognition of mental illness, to
     enhance their verbal crisis de-escalation skills, and to provide more streamlined access to
     community-based mental health services.

     This training can save the lives of citizens and officers alike. It should be available to all
     officers and local communities should hold their police forces to this standard of training.
     I ask the police to make this training a priority; these tragedies affect not just the public,
     but the lives of uniformed officers who are involved in these incidents.”

     30. In my professional opinion, Sheriff Wegener could have availed himself and his
     officers of the crisis intervention tactics training that had been in place in law enforcement
     throughout the United States and in Colorado for many years. He failed to do so however,
     and this failure, coupled with his reliance on the “luck of the draw” to have a CIT trained
     deputy on duty (with only one pre-trained deputy on his staff), contributed to the death of
     Deputy Nate Carrigan and the wounding of several other deputies.

     Synopsis

     The outcome in this case would very likely have been much different if the Park County
     Sheriff’s Department had employed primary resolution strategies initially, using time and
     talk for negotiation and resolution purposes rather than immediately jumping to a
     secondary resolution strategy where forceful and dynamic tactics were used. The net result
     was that deputies were inappropriately sent into a lethal ambush where one deputy died as
     a result of his wounds and three other deputies were wounded, one very seriously with
     multiple gunshot wounds. Given the totality of circumstances in this case, it was very
     foreseeable that the directed entry into the residence of Martin Wirth was dangerous and
     that personnel might be wounded or even killed, as did in fact happen. This case was more
     than a simple eviction, as evidenced by the fact that seven on-scene personnel were




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     handling this eviction, more than ever before for an eviction, and that three of the four
     deputies entering the residence were armed with assault rifles, as well as the fact that for
     the first time ever, medical personnel were staged in the event there were injuries.

     Moreover, the outcome would have been much different if Captain Hancock had followed
     the direct orders given to him by former Undersheriff Monte Gore to refrain from entering
     the Wirth residence, and the outcome would have been different as well if Sheriff Wegener
     had placed an emphasis on training his personnel in crisis intervention techniques (CIT),
     and had effectively deployed such trained deputies in the field, rather than relying on the,
     “luck of the draw.” In my 55 years in the law enforcement arena, I frankly have never seen
     any police incident where there was a more egregious disregard for the safety of law
     enforcement personnel.

     B.   Priest’s Rebuttable Statements and Opinions of December 4, 2017 and
     Montgomery Responses to Each.

     The theme of Mr. Priest’s report revolves around several basic premises, all covered under
     the opinions he expressed in I through IV, on pages 21-30 of his report. I will address each
     individual opinion, and rather than bringing into question the credibility of any witnesses,
     citing legal authority, conducting a constitutional analysis, or making factual
     determinations, I will attempt to focus, as I did in my original report, on whether or not the
     actions of Captain Hancock and Sheriff Wegener were in concert with well-established and
     modern police practices and standards. In other words, would reasonably trained police
     officers, given the same set of facts and circumstances, acted in the same or similar
     manner?

     1. Priest Opinion I: “The briefing held by Captain Hancock set forth a reasonable plan for
     contacting Mr. Wirth and if necessary, forcibly evicting him in accordance with the Writ
     of Restitution.” (@ 21).

     Montgomery Response to Priest Opinion I: I respectfully disagree.

         First of all we must recognize the fact that from the onset, this civil eviction was
          deemed to be high risk and dangerous in nature. In a phone conversation at 7:22
          am on the morning of this incident (four hours earlier), an unidentified Park County
          Sheriff’s Deputy and a dispatcher named Karen, the deputy stated, “The other thing
          is, we’re doing an eviction at 10:00 am at 36 Iris Drive, and this is the guy who
          threatened to kill policemen and we’ve been watching his house off and on for the
          last couple weeks you know, for a month or so., His name is Martin Wirth. They’re
          going to go up there and take care of it that way. Nobody will get hurt.” (Audio
          File 2:24-16, 7:22:34 am).

         Furthermore, in another telephone conversation between Captain Hancock and
          Karen at 9:02 am on the morning of the incident, Captain Hancock stated, “Karen,
          this is Captain Hancock. I’m getting ready to do a high risk eviction and those civil
          guys will be on Ops 5 (tactical frequency) but I’ll switch back and forth and tell




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            you when we’re on scene and that’s all I’m gonna say.”(Audio File 2-24-16,
            9:02:26 am).

         The risk was evident, everyone knew it was a risky eviction and dangerous in
          nature. That is why seven deputies were assigned to this eviction, the most ever
          assigned to a civil eviction; that is why fire-rescue was staged; and that is why three
          of the officers making entry into the residence were armed with tactical rifles. I
          would submit further that nowhere in the “plan” that was developed was there any
          provision for having a CIT trained deputy (the one and only CIT trained deputy in
          the sheriff’s department), involved in order to provide any necessary negotiation
          services, and nowhere in the plan was there any diagram made of the interior of Mr.
          Wirth’s residence. Moreover, there was no provision for having a full SWAT Team
          staged, e.g. the Jefferson County Swat Team and the equipment they could provide,
          and there was no provision for the type of protective equipment the entering
          deputies should be wearing. They were essentially left alone to decide what time
          of protective gear to wear on this mission. Captain Hancock failed to develop a
          solid plan for this eviction, and failed to ensure that his officers were adequately
          equipped with the necessary tactical gear. These shortcomings ultimately proved
          fatal.

         No threat assessment was accomplished prior to the briefing and the tactical
          deployment in this situation. Captain Hancock indicated in his deposition no
          formal threat assessment was done in this case. He stated that it would have been
          Deputy Carrigan’s job to do the threat assessment but he never instructed Deputy
          Carrigan to do a threat assessment involving a numerical methodology.

         The briefing was inadequate and not in concert with well-established and modern
          police practices and standards. Reasonably-trained and prudent police personnel
          would have ensured that the briefing would have resolved the above-noted
          deficiencies, especially so in a situation deemed from the beginning to be a high-
          risk eviction. The preparation was not at all qualitatively proportional to the
          potential severity of the incident.

     2. Priest Opinion II: “Captain Hancock’s Decision to Order a Breach of the Residence
     Was Reasonable.” (@ 23).

     Montgomery Response to Priest Opinion II: I disagree.

         Mr. Priest asserts in his report (@ 23) that there were just two options available for
          Captain Hancock to pursue at the scene. He identified the first option as the forcible
          removal of Mr. Wirth from his residence. His second option included negotiation,
          SWAT-type entry, leave the location. I disagree and see it differently. There were
          four legitimate options: Obtain voluntary compliance from Mr. Wirth to leave the
          residence; Set up a perimeter and enter into a de-escalation/negotiation with Mr.
          Wirth; Leave the location if negotiations proved unsuccessful and resolve the
          situation another time; Make a dynamic, tactical entry and forcibly remove Mr.




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            Wirth. The last option involving a dynamic and tactical entry and forcibly removing
            Mr. Wirth was not at all realistic under the circumstances of this case. It was
            dangerous, uncalled for, and it resulted in the loss of lives and bullet wounds. As I
            discussed extensively in my original report, making a dynamic, tactical entry in this
            case, given the circumstances where entry was made approximately three minutes
            after Mr. Wirth entered his residence, was not at all in concert with well-established
            and modern police practices and standards. It was not at all what reasonably-trained
            and prudent police officers would have done under these circumstances.

         Mr. Priest asserts in his report, “Neither of the two choices conclusively supports a
          more reasonable option over the other.” Again, I disagree. On page 2 and 3 of this
          report, I fully discuss the advantages where applicable of the tactical approach
          recommended by the International Association of Chiefs of Police (IACP) in their
          discussion regarding barricaded subjects (people who have taken up a position in a
          vehicle or structure, whether fortified or not). Clearly, the superior tactical strategy
          in this matter, would have been a, “primary resolution” geared towards resolving a
          barricaded suspect or subject situation involving the use of minimally intrusive
          techniques such as negotiations, time, electronic surveillance, high-energy
          illumination, etc.), rather than a “secondary resolution” involving highly intrusive
          tactics.

         I would submit as well that the strategy of the Commission on Accreditation for
          Law Enforcement Agencies (CALEA) regarding the use of force is relevant here.
          CALEA states, “Agencies should ensure training is conducted ranging from
          immediate action to de-escalation. De-escalation policy should also include a
          discussion of proportionality, using distance and cover, tactical re-positioning,
          “slowing down” situations that do not pose an immediate threat, calling for
          supervisory and other resources.” CALEA Mandatory Standard 4.1.1, Use of
          Reasonable Force).

         I would also cite the works of Remsberg and Martinelli concerning the dangers of
          officers rushing into situations without first effectively engaging in “situation
          assessment,” as discussed on pages 4-6 of this report.

         Lastly, Mr. Priest overlooked in his analysis as to the propriety of the entry into Mr.
          Wirth’s residence, the statement Captain Hancock made to the Colorado Bureau of
          Investigation: “…and I really regret that I’m a Marine sometimes, because I am
          super aggressive and I don’t like to give people the opportunity to plan, fortify, and
          take us out so I asked a second time I believe and I don’t know if I even got
          permission or not. I can’t remember.” This statement in my opinion, illustrates my
          concern that Captain Hancock rushed into a situation prematurely without first
          conducting a quality situation assessment.

     3. Priest Opinion III: “Assuming an Order from Undersheriff Gore Existed Where Captain
     Hancock Would Hold, and Not Enter the Wirth Residence, Captain Hancock Had
     Discretion to Reasonably Act.” (@ 25).




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     Montgomery Response to Priest Opinion III: I disagree. If in fact Captain Hancock was
     ordered by Undersheriff Gore to not enter the Wirth residence, Captain Hancock had no
     discretion to enter. That discretion was taken away by virtue of the reported direct order
     issued by the Undersheriff. Captain Hancock did in fact have the discretion to “reasonably
     act” as stated by Mr. Priest, but the entry in Mr. Wirth’s residence was taken off the table
     of alternatives by the Undersheriff. Entry was no longer an option. And as I stated in my
     original report, if in fact a direct order had been issued to refrain from entering, that order
     should have been followed. Absent such an order, and given the circumstances of this
     matter, entry into the residence of Mr. Wirth was still was not in concert with well-
     established and modern police practices and standards. Entry in this situation was not what
     reasonably-trained police officers would have done given the same or similar
     circumstances. Police officers do not have unfettered discretion to do simply what they
     want. They have to play by the rules and these rules have been established over the years
     by organizations such as the International Association of Police, the Commission on
     Accreditation for Law Enforcement Agencies, the Police Executive Research Forum, and
     others professional police organizations, discussed in more depth in my original report.

     4. Priest Opinion IV: The Sheriff Performed Reasonably and Operated Within His
     Authority.” (@ 30)

     Montgomery Response to Priest Opinion IV: I disagree.

         Mr. Priest asserts in his report that Sheriff Wegener, “Correctly and reasonably
          deferred to Captain Hancock’s experience.” (@ 31). Again, I disagree. As I have
          stated throughout my original report, and as reflected in this report at A6 and A7
          on page 3; A18 and A19 on page 6; A21 and A22 on page 7; A27 and A28 on page
          9 and A30 on page 10, there is much Sheriff Wegener could have done to turn this
          situation around. He could have ensured that his department had quality training
          in and policies on, how to handle high risk evictions, but he didn’t; He could have
          mandated that an internal affairs investigation into this incident be initiated; but he
          didn’t; He could have ensured that his personnel had and were utilizing the proper
          equipment at the scene of the eviction, but he didn’t; He could have ensured that
          his department had a hostage negotiation team, but he didn’t; He could have
          ensured that a CIT trained deputy (Deputy Jones) was at the scene in the event he
          was needed to verbally defuse and de-escalate the situation with Mr. Wirth, but he
          didn’t; He could have ensured that the Jefferson County Sheriff’s Department be
          notified to assist and/or be staged in this situation, but he didn’t; He could have
          ensured that his department was well-trained and well-versed in crisis intervention
          training, but he didn’t; He could have demanded that Captain Hancock make this
          situation a full-fledged SWAT operation, but he didn’t, for political purposes;
          Instead, Sheriff Wegener stated, “I was just letting them do their thing.” (@
          CARRIGAN 18061-18069). Sheriff Wegener in my opinion, was not operating
          within his authority. Authority is defined basically as the “right” to take certain
          actions, and “power” is defined basically the “ability” to implement those actions.
          Clearly, Sheriff Wegener had the right and the power to effect change within his




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            department, and at the scene of the incident involving Mr. Wirth, and as noted
            earlier, he failed in many different regards. These failures contributed to the death
            of Deputy Carrigan.

     Respectfully Submitted,


     Dan Montgomery
     Dan Montgomery, Chief of Police (Retired)




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